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          EXHIBIT A
Electronically FILED by Superior Court of California, County of Los Angeles on 10/22/2019 05:34 PM Sherri R. Carter, Executive Officer/Clerk of Court, by H. Flores-Hernandez,Deputy Clerk
                                                  19STCV38079
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                                        Assigned for all purposes to: Stanley Mosk Courthouse, Judicial Officer: Dennis Landin




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                       Attorneys for Plaintiff ALLAHYA SATTAAR EL




                  8                                SUPERIOR COURT OF THE STATE OF CALIFORNIA
                 9                                             FOR THE COUNTY OF LOS ANGELES

                       ALLAHYA SATTAAR EL, an individual,
              11
                                                                                                  COMPLAINT FOR DAMAGES
                                            Plaintiff,
              12                 vs.                                                                    1. Failure to Engage Interactive
              13                                                                                           Process;
                                                                                                       2. Discrimination based on Disability-
                       GOLDEN STATE FC LLC, a Limited
                       Liability Company, KELLI WHARTON, an                                                Physical
                                                                                                       3. Failure to Accommodate a
              13       individual, and DOES I through 50, inclusive,
                                                                                                           Disability;
              16                              Defendants.                                              4. Negligent Hiring, Supervision and
                                                                                                           Retention;
              17                                                                                       5. Failure to Prevent Discrimination;
              18
                                                                                                       6. Business and Professions Code
                                                                                                           Section 17200 et aL;
             19                                                                                        7. Failure to Pay Wages Due Upon
                                                                                                           Termination; Waiting Time
             20
                                                                                                           Penalties
             21                                                                                        S. Failure to Issue Accurate Itemized
                                                                                                           Wage Statements
             22                                                                                        9. Failure to Pay Overtime
                                                                                                           Compensation
             23
                                                                                                       10. Wrongful Termination
             24                                                                                        11. Failure to Provide A Copy of
                                                                                                           Personnel Records Upon Request
             25
                                                                                                 DEMAND FOR JURY TRIAL
            26

            27        Plaintiff, ALLAH YA SATTAAR EL, hereby complains and al1eges as follows:
                      ///


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                                                                        COMPLAINT FOR DAMAGES

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                                                      PARTIES
     2            1.      Plaintiff, ALLAHYA SATTAAR EL, (hereinafter "SATTAAR EL" or
           "Plaintiff") is, and at all times herein mentioned was, a resident of the
                                                                                     County of Los Angeles,
           State of California.
     5
                  2. Plaintiff is informed and believes, and based thereon alleges that GOLDEN
     6
          STATE FC, LLC is a limited liability company and a subsidiary of Amazon and
                                                                                        during all
     7
          relevant times herein was the employer of the Plaintiff and is doing business in the State
                                                                                                     of
     II
          California. On information and belief, and based thereon, Plaintiff alleges that Defendant is
          conducting business in California and   its'rincipal place of business is DLA8 — 2815 West El
          Segundo Blvd., Hawthorne, CA 90250.
11
                  3.     Plaintiff is informed and believes, and based thereon alleges that, KELLI
          WHARTON (hereinafter "WHARTON*') is an individual and during all relevant times herein
13
          was the human resource representative of the Plaintiff. At the time of the herein allegations,
          WHARTON worked in the greater Los Angeles Area, State of California.
15
                 4.      Plaintiff is ignorant of the true names and/or capacities of those entities or
          individuals herein as DOES I through 50, inclusive, and therefore sues these defendants by their
          fictitious names. Plaintiff will seek leave of this Court to amend this Complaint to insert their
          true names and/or capacities when the same are ascertained.
19
                 5.      Unless otherwise specified herein, each DOE Defendant was the agent and
          employee of each Defendant, and in doing the things hereinafter mentioned, were at all times
          acting within the course and scope of that agency and employment.
                 6.      Plaintiff is informed and believes, and based thereon alleges that, at all times
          relevant herein, Defendants and each of them, and/or their agents, employees or supervisors,
          authorized, condoned and ratified the unlawful conduct of each other.
25
                 7.     Plaintiff is informed and believes, and based thereon alleges that, at all times
          relevant herein, defendants and/or their agents, employees or supervisors knew or reasonably
          should have known of the misconduct against Plaintiff SATTAAR EL and did not take action or

          appropriate corrective action. Thereby, the Defendants'isconduct or omissions thereof as

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          described herein were deemed ratified and condoned by each Defendant.
     2                                    JURISDICTION AND VENUE
     3           8.     Personal jurisdiction is satisfied because Defendants are incorporated and
     4   registered business owners in the County of Los Angeles, State of California. Subject-matter
     6   jurisdiction is satisfied based on general jurisdiction which means that a court has the ability to
     6   hear and decide a wide range of cases. Unless a law or constitutional provision denies
                                                                                                       them
     7   jurisdiction, courts of general jurisdiction can handle any kind of case. There is no law or
 8       constitutional provision that denies Plaintiff jurisdiction in this Court. Therefore, Jurisdiction is
 9       proper in County of Los Angeles, State of California.
10               9.     Venue is proper in this Court because Defendants conduct business in the County
11       of Los Angeles, State of California.
12                                       ADMINISTRATIVE PREREOUISITE
13               10.    At all times relevant, Defendants regularly employed five or more persons,
14       bringing Defendants within the provisions of Government Code section 12900 er seq.,
I6       prohibiting employers or their agents from discriminating against or harassing its employees, or
16       from allowing and fostering an environment where fellow employees could harass or
17       discriminate against other employees with impunity.
18               11.    Plaintiff has exhausted her administrative remedies by timely filing an
19       administrative complaint with the California Department of Fair Employment and Housing
20       (DFEH) and has received a Right-To-Sue Notice on October 22, 2018.
21                                        FIRST CAUSE OF ACTION
22                                Failure to Engage In the Interactive Process
23                                In Violation of Government Code II 12940(n)
24                                    (Against Defendants and DOES 1-50)
25              12.     Plaintiff re-alleges and incorporates by reference those matters contained in the
26       above paragraphs as though fully set forth herein.
27              13.     At all times herein mentioned, Government Code sections 12940(n) of the Fair
28       Employment and Housing Act ("FEHA'*), which requires an employee to engage in a good-faith


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     I    interactive process with employee to determine whether it would be
                                                                               possible to implement
     2    effective reasonable accommodations so that the employee can perform the essential
                                                                                                  job
                                                                                               duties
     3    assigned.
     4            14.   "The point of the interactive process is to find reasonable
                                                                                    accommodation for a
     6    disabled employee, or an employee regarded as disabled by the employer, in order
                                                                                           to avoid the
     6   employee's termination. Therefore, a pretextual termination of a perceived-as-disabled
     7   employee's employment in lieu of providing reasonable accommodation or
                                                                                engaging in the
     8   interactive process does not provide an employer a reprieve from claims for failure
                                                                                             to
  9      accommodate and failure to engage in the interactive process." Moore v. Regenrs of University
                                                                                                       of
 10      California (2016) 248 Cal.App.4th 216, 243 —244.
                 15. Plaintiff was an employee of the Defendants. Plaintiff has a medical condition in
12       which she advised her immediate supervisor Kim (unknown last name), her subsequent
13       supervisor, Kumi Yiadom and human resource representative Kelli Wharton.
14               16.     Defendants knew the Plaintiff had physical disabilities because Plaintiff provided
15       written documentation from her licensed medical physician.
16               17.   Plaintiff was willing to participate in an inactive process to determine whether a
17       reasonable accommodation could be made. Plaintiff contacted WHARTON by email seeking to
18       participate in GOLDEN STATE's "development plan" when employees fall below their "UPT
19       bank.*'owever, WHARTON responded in an email stating Plaintiff, "don't need to sign up for
20       anything."
21               18.     After direct knowledge of Plaintiff's disability and Plaintiff s to engage in an
22       interactive process, Defendants refused to determine whether a reasonable accommodation could
23       be made.
24               19.    Defendants'efusal to engage in a good-faith interactive process was a substantial
25       factor in causing Plaintiff's harm which included, but not limited to, physical injuries, emotional
26       stress, lost wages, lost future wages, and lost benefits.
27              20.     Plaintiff requests general and special damages.
28              21.     Plaintiff is entitled to her reasonable attorney's fees and expenses under the FEHA.


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     I                                    SECOND CAUSE OF ACTION
                       Discrimination based on Disability (Physical) in Violation of FEHA
     3                                 (Against Defendants and DOES 1-50)
 4               22.   Plaintiff re-alleges and incorporates by reference those matters contained in the
     6   above paragraphs as though fully set forth herein.
 6               23.     At all times herein mentioned, Government Code section 12940(a) was in full
 7       force and effect. This Section makes it unlawful for an employer in the State of California to
 8       discriminate against an employee the basis of a physical disability.
 9               24.      Disability discrimination under FEHA requires a showing of: (1) a disability, (2)
Io       plaintiff is a qualified individual, and (3) was subjected to an adverse employment action, e.g.,
         termination of employment, because of the disability. Brundage     v.   Hahn (1997) 57 Cal.App.4th
12       228, 236. In addition, Plaintiff must show that the Defendant knew of her disability at the time
13       of termination. See, Avila v. Continental Airlines, Inc. (2008) 165 Cal.App.4th 1237, 1248.
14               25.    At all times herein mentioned, Defendant, by and through its agents and
Is       employees, subjected Plaintiff to disability discrimination by reason of the facts alleged herein.
16               26.    Plaintiffhad a physical disability and the Defendants were provided documented
17       proof. However, Plaintiff was terminated due to her physical disability.
18              27.     Plaintiff was a "qualified individual" because she could and did perform the
19       essential duties of her position with or without accommodations.
20              28.     As a proximate result of Defendants'iscriminatory actions against Plaintiff, as
21       alleged herein, Plaintiff has been harmed in that Plaintiff suffered loss of wages, benefits, loss
22       of future earning capacity, all to her detriment in an amount according to proof, but which are in
23       excess of the jurisdictional minimum of this Court.
24              29.     As a further direct result of this discrimination under FEHA, Plaintiff has
26       suffered and will continue to suffer, damages for humiliation, physical, emotional, mental
26       distress and pain all to her detriment an amount according to proof, but which are in excess of
27       tlie jurisdictional minimum of this Court.

28              30.     Defendants'iscriminatory actions against Plaintiff were done with malice,

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          oppression, and in reckless disregard of the Plaintiff s rights under FEHA.
                                                                                       Specifically,
          Defendants willfully and with a conscious disregard for Plaintiff s right to
                                                                                       work with
          accommodations. Therefore, Plaintiff will seek punitive damages in an amount
                                                                                       according to
     4
          proof. Plaintiff is entitled to her reasonable attorney's fees and costs under FEHA.
     5
                                            THIRD CAI)SK OF ACTION
                       Failure To Provide Reasonable Accommodations violation under FKHA
     7
                                        (Against Defendants and DOES 1-50)
     8
                 31.   Plaintiff re-alleges and incorporates by reference those matters contained in the
         above paragraphs as though fully set forth herein.
 10
                 32.    At all times herein mentioned, Government Code section 12940(m) was in full
 11
         force and effect. This Section makes it unlawful for an employer in the State of California to fail
 12
         to make a reasonable accommodation for the known physical or mental disability of an
                                                                                                 employee
         absent "undue hardship." Prilliman    v.   United Air Lines, Inc. (1997) 53 Cal.App.4th 935, 947) "[T]he
14
         duty of an employer to provide reasonable accommodation for an employee with a disability is broader
15
         under the FEHA than under the ADA." Bagatti     v.   Department of Rehabilitation, 97 Cal.App.4'" 344, 362.
16
         "While a claim of failure to accommodate is independent of a cause of action for failure to
                                                                                                     engage in an
17
         interactive dialogue, each necessarily implicates the other." (Moore, supra, 248 Cal.App.4th at
                                                                                                         p. 242.)
         "'Ordinarily the reasonableness of an accommodation is an issue for the jury.'" (Prilliman, supra,
         53 Cal.App.4th at p. 954, internal citation omitted.)
20
                 33.      At all times herein mentioned, Defendants were the employer of the Plaintiff
         SATTAAR EL, the employee.
22
                 34.      Defendants, by and through their agents and employees, subjected Plaintiff to
         disability discrimination by the facts stated herein.
24
                35.       After Defendants learned of Plaintiffs need for a reasonable accommodation
         Defendants failed to meet with Plaintiff and fired her.
                36.       Plaintiff was able to perform the essential job duties with or without reasonable
         accommodation.
28
                37.       As a direct result of discrimination against Plaintiff by Defendants, Plaintiff

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      I    sustained, and will continue to sustain, compensatory damages
                                                                         including, but not limited to, loss
      2    of income and lost future earning capacity in an amount according
                                                                               to proof, but which are in
      3    excess of the jurisdictional minimum of this Court.
     4             38.    As a further direct result of discrimination against Plaintiff
                                                                                           by Defendants,
           Plaintiff has suffered, and will continue to suffer, damages for
                                                                            physical, emotional and mental
           distress, and for pain and suffering in an amount according to proof.
     7
                  39.     Plaintiff is entitled to reasonable attorney's fees and costs under FEHA.
                                           FOURTH CAUSE OF ACTION
                                     Negligent Hiring, Supervision and Retention
 10
                         Against Defendant GOLDEN STATE FC, LLC and DOES 1-50
                  40.    Plaintiff re-alleges and incorporates by reference those matters contained in the
 12
          above paragraphs as though fully set forth herein.
 13
                  41.    "California case law recognizes the theory that an employer can be liable to a
                                                                                                            third
          person for negligently hiring, supervising, or retaining an unfit employee." Doe v.
                                                                                              Capital Cities
          (1996) 50  Cal.App.4th 1038, 1054. "Liability for negligent supervision and/or retention of an
16
          employee is one of direct liability for negligence, not vicarious liability." Delfino v.
                                                                                                    Agilent
          Technologies, /nc. (2006) 145 Cal.App.4th 790, 815.
                 42.     At all times relevant herein Defendants employed Defendant WHARTON human
          resource representative and Kim (unknown last name) and Kumi Yiadom as Plaintiffs
          supervisors. These employees were unfit or incompetent to perform the work for which
                                                                                               they were
          hired in that they disregarded and violated FEHA statues. Specifically,
                                                                                          they willfully,
          intentionally, and purposefully failed to engage in a timely, good faith interactive process with
          Plaintiff and failed to provide accommodations at Plaintiffs request. Moreover,
                       Defendants'mployees
                   terminated Plaintiff for seeking medical treatment and requiring physical disability
          accommodation.
26
                 43.     Defendants had a duty to act as a reasonably prudently employer and adequately
          supervise its employees.
                 44.     Defendants breached its aforementioned duty when it assigned
                                                             Defendants'7-
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          employees aforementioned supervisors and ratified and condoned their actions
                                                                                         and omissions.
     2    Defendants knew or should have known that these supervisors were unfit or
                                                                                    incompetent and that
     3    their unfitness or incompetence created a particular risk to others.
                                                                               Specifically, Defendants
          refused to engage in interactive process, refused to accommodate her
                                                                                 physical disability and
     5    terminated her employment. This is not an exhaustive list of acts and omissions
                                                                                          committed by
     6    Defendants and ratified and condoned by Defendants.
     7           45.     Defendants'egligence in hiring, supervising, or retaining aforementioned
     8    supervisors was a substantial factor in causing Plaintiff's harm.
     9           46.      Defendants employees'nfitness or incompetence harmed Plaintiff in that
 10      Plaintiff sustained, and will continue to sustain, compensatory damages including, but not limited
 11      to, loss of income and lost future earning capacity, all to her detriment in an amount according to
 12      proof, but which are in excess of the jurisdictional minimum of this Court.
 13              47.     As a direct and proximate result of Defendants'reach, Plaintiff suffered
         compensatory damages to which Plaintiff is entitled to recover in an amount to be proven at trial.
                 48.     As a further direct and proximate result of Defendants'reach, Plaintiff has
16       sustained, and will continue to sustain for a period of time, physical, emotional and mental distress
17       and pain and suffering all to Plaintiff s general damage in an amount according to proof.
18                                        FIFTH CAUSE OF ACTION
19                                      Failure To Prevent Discrimination
20                                     Against Defendants and DOES 1-50
21              49.     Plaintiff re-alleges and incorporates by reference those matters contained in the
22       above paragraphs as though fully set forth herein.
23              50.     At all times herein mentioned, Gov't. Code section 12940 subdivision (k) was in
24       full force and effect. This statute, in pertinent part, made it unlawful for an employer to fail to
26       take all reasonable steps necessary to prevent discrimination and retaliation from occurring in the
26       workplace in the State of California
27              51.     "The employer's duty to prevent harassment and discrimination is affirmative and
28       mandatory." Northrop Grumman Corp.       v.   Workers'omp. Appeals Bd. (2002)      103 Cal.App.4th


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            1021, 1035.

      2            52.       "[T]he section 12940 claim ... the usual elements of a tort,
                                                                                          enforceable by private
      3    plaintiffs, ...: Defendants* legal duty of care toward plaintiffs, breach
                                                                                     of duty (a negligent act or
           omission), legal causation, and damages to the plaintiff." Trjuillo   v.   North County Transit Dist.
      6    (1998) 63 Cal.App.4th 280, 286 —287, internal citation omitted.
     6             53.      As stated above herein, Plaintiff was an employee of Defendants.
                                                                                             Plaintiff was
     7     subjected to harassment and discrimination in the course of her
                                                                             employment. Defendants failed
     8     to take all reasonable steps to prevent the harassment and discrimination.
     9             54.    Further, at all times herein mentioned, Defendants had policies and
                                                                                                  procedures in
 10        place regarding discrimination and retaliation based on an employee's
                                                                                     membership in a protected
 11        class. These policies and procedures provided that the Defendants
                                                                                   will not retaliate against an
 12        employee for a disability and will not tolerate or permit retaliation by management,
                                                                                                   employees or
 13       co-workers.
 14               55.  Defendants, at all times herein mentioned, failed to follow their own policies and
 16       procedures. Defendants were fully aware of Plaintiff s physical disability. Yet,
                                                                                           Defendants took
 16       no action to ensure that   its'gents and/or employees did not discriminate against Plaintiff due to
 17       her physical disability.
18                56.    Plaintiff is informed and believes, and thereon alleges, that the aforementioned
19        conduct violated both Defendants'uty under the law and Defendants'wn business
                                                                                                policies to
20        prevent discrimination in the workplace.
21                57.     As a direct result of Defendants'ailure to prevent discrimination in the workplace
22        under FEHA, Plaintiff sustained, and will continue to sustain, compensatory damages
                                                                                                    including,
23        but not limited to, loss of income and lost future earning capacity, all to her detriment in amount
24        according to proof, but which are in excess of the jurisdictional minimum of this Court.
25               58.   As a further direct result of Defendants'ailure to prevent discrimination in the
26        workplace under FEHA, Plaintiff suffered, and will continue to suffer, damages for physical,
27        emotional, and mental disness and for pain and suffering, all to her detriment, in an amount
28        according to proof, but which are in excess of the jurisdictional minimum of this Court.


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      1            59.     Plaintiff is entitled to her reasonable attorney's fees and costs under
                                                                                                     FEHA.
     2             60.  The conduct of Defendants in ratifying and approving the actions
                                                                                         of their agents
     3     and employees who, among other things, unlawfully discriminated
                                                                           against Plaintiff based on a
     4     physical disability or medical condition. Defendants unlawfully failed to
                                                                                      protect Plaintiff from
     s     the whims and caprice of her supervisors and human resource staff. These
                                                                                      acts and conduct were
     6     intentional, malicious, and oppressive and were designed to and did injure
                                                                                      Plaintiff in her health,
     7     strength, and activity. Therefore, Plaintiff is entitled to an award of punitive
                                                                                              damages from
     8     Defendants in an amount according to proof.
     9                                           SIXTH CAUSE OF ACTION
 10                                                Unfair Business Practices
                             Against Defendant GOLDEN STATE FC, LLC and DOES 1-50
 12               61.     Plaintiff re-alleges and incorporates herein those matters contained in all
 13       preceding paragraphs as if fully alleged herein.
14                62.    At all times relevant herein, Defendants, as Plaintiff s employers, are subject to
1s        the California Unfair Trade Practices Act, Business and Professions Code sections 17200 et
                                                                                                      seq.,
16        which required them to abide by the Labor Code and applicable Wage Orders promulgated
                                                                                                         by the
17        California Industrial Welfare Commission.
18                63.  Business and Professions Code section 17200, also known as the Unfair
19        Competition Law (hereinafter referred to as the "UCL"), prohibits unfair competition in the form
2o        of any unlawful, unfair or fraudulent business act or practice.
21                64.      Business and Professions Code section 17204 allows any person acting for the
22        interests of itself, its members, or the general public to prosecute a civil action for violations of
23        the UCL.
24                65.    During the Relevant Recruitment Period and the Relevant Employment Period,
2s        Defendant engaged in unlawful, deceptive, and unfair business practices prohibited by Business
26        and Professions Code section 17200, including those set forth in the preceding and foregoing
27        paragraphs of this Complaint, thereby depriving Plaintiff of the total compensation to which he
28        was entitled, as described herein.


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                 66.    As a result of these actions, Plaintiff, on information and belief,
                                                                                            allege that
     2    Defendants are able to unfairly compete with other comparable
                                                                            companies in the State         of
     3   California in violation of Business and Professions Code sections 17000
                                                                                         et seq. and sections
     4   17200 et seq. Due to these unlawful, unfair, and/or fraudulent business
                                                                                      practices, Defendants
     6   have gained a competitive advantage over other comparable companies
                                                                                      doing business in the
     6   State of California. Plaintiff's success in this action will enforce
                                                                               important rights affecting the
     7   public interest and public policy. In this regard, Plaintiff sues on behalf of the
                                                                                            public as well as
     8   on behalf ofhimself.
     9           67.     Plaintiff seeks full restitution from Defendants, as necessary and according to
 10      proof, to restore any and all monies withheld, acquired, and/or converted by Defendants means
                                                                                                by
         of the unfair practices complained of herein.
 12              68.    As a direct and proximate result of Defendants'iolations, Plaintiff s rights under
13       the law were violated because Plaintiff suffered monetary loss. Plaintiff seeks restitution in the
14       form of unpaid salary and reimbursements, as well as special and general damages, together with
I6       injunctive relief to prohibit Defendants from violating the regulations alleged in this Complaint,
16       as well as any and all other available remedies. Plaintiffs further seek attorney's fees and costs
17       pursuant to California Civil Code section 1021.5.
18              69.     Defendant's violations of California's laws regarding maintaining records
19       constitute a business practice because they were committed repeatedly over a significant period
20       of time and in a systematic manner to the detriment of Plaintiff.
21              70.     Defendant's violation of California's laws regarding unlawful deductions
22       constitute a business practice because they were committed repeatedly over a significant period
23       of time and in a systematic manner to the detriment of Plaintiff.
24              71.     Defendant's violation of California's laws regarding
25                                      SEVENTH CAUSE OF ACTION
26                                        UNLAWFUL DEDUCTIONS
27                     Against Defendant GOLDEN STATE FC, LLC and DOES 1-50
28              72.     Plaintiff re-alleges and incorporates by reference those matters contained in the


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      I    above paragraphs as though fully set forth herein.
     2             73.   Pursuant to California Labor Code section 221, Defendant is prohibited
                                                                                                 from
     3     deducting from employee wages those sums paid toward the performance of job-related
                                                                                               duties.
     4     In violation of Labor Code and other provisions of law, Defendant
                                                                               improperly deducted a portion
     5     of wages from Plaintiff under the guise of UPT program in which one hour is deducted
                                                                                                    from the
     6     Plaintiff if Plaintiff is late one or more minutes. Plaintiff seeks payment of such sums
                                                                                                    deducted
     7     in violation of California law.
     8            74.     As a proximate result of the aforementioned violations, Plaintiff has been damaged
  9        in an amount according to proof at the time of trial but in an amount that exceeds the
                                                                                                  minimum
 10       jurisdiction of this Court coupled with other violations stated herein.
 11               75.     Defendants'attern and practice of wage deductions as described herein is
12         unlawful and creates and entitlement pursuant to Labor Code section 221. Plaintiff is entitled to
13        recover from Defendant the full amount of the expenses incurred in the course of the
                                                                                               job duties,
14        plus interest, reasonable attorneys'ees and costs of suit.
15                                        EIGHTH CAUSE OF ACTION
16                        FAILURE TO PAY WAGES DUK UPON TERMINATION;
17                                        WAITING TIME PENALTIES
18                       Against Defendant GOLDEN STATE FC, LLC and DOES 1-50
19                76.    Plaintiff re-alleges and incorporates by reference those matters contained in the
20        above paragraphs as though fully set forth herein.
21                77.    California Labor Code Sections 201 and 202 require Defendant to pay all
22        compensation due and owing to former employees at or around the time their employment is
23        terminated.
24                78.    California Labor Code Section 203 provides that if an employer willfully fails to
2s        pay compensation promptly upon discharge or resignation, as required by sections 201 and 202,
26        then the employer is liable for penalties in the form of continued compensation up to thirty (30)
27        workdays.
28        ///


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        1             79.   Defendant willfully failed to pay Plaintiff all wages and failed to
                                                                                                pay overtime
             wages (as detailed above), and failed to pay all wages to Plaintiff, (whose no longer
                                                                                                    employed
     3       by Defendant), for all wages due at the time of separation as required by California Labor Code
     4       sections 201 and 202.
     5                80.    Defendants'ailure to pay all wages owed was willful and intentional and
     6       Plaintiff is entitled to penalties under Labor Code section 203, 30 days of wages as a
                                                                                                      penalty,
     7      calculated by Plaintiff's daily rate times 30 days, plus attorneys'ees.
    8                                         NINTH CAUSE OF ACTION
    9                   FAILURE TO ISSUE ACCURATE ITEMIZED WAGE STATEMENTS
10                          Against Defendant GOLDEN STATE FC, LLC and DOES 1-50
11                    81.   Plaintiff re-alleges and incorporates by reference those matters contained in the
12          above paragraphs as though fully set forth herein.
13                    82. California Labor Code sections 226(a) requires that employers, when paying
14          their non-exempt employees'ages, include an "itemized statement in writing showing" the
1   6       "total hours worked by the employee,'* and "all applicable hourly rates in effect during the
                                                                                                         pay
16          period and the corresponding number of hours worked at each hourly rate."
17                  83.     Defendant implemented an employment practice whereby it failed to provide
18          Plaintiff with accurate wage statements and records, including but not limited to pay stubs
19          recording all hours worked, paychecks representing all wages earned, wage statements or
20          itemized stubs showing hourly wage as well an any employment deductions for all hours
21          worked.
22                  84.     Defendant willfully and intentionally violated California Labor Code section
23          226(a) by failing to show accurate total hours worked, failing to show the applicable overtime
24          rates paid or owed, failing to record overtime hours worked, and failing to pay overtime rates
36          and intentionally not paying or under paying wages.
26                 85.      As a result of Defendant's violation of Labor section 226, Plaintiff is entitled to
27          recover $ 50.00 for each period in which there is an initial violation of section 226 and $ 100.00
38          for each subsequent pay period in which there is a further violation.


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         I             86.    Plaintiff seeks injunctive relief under Labor Code section 226 in the
                                                                                                   form of an
      2       order from the Court to properly state the wages earned, the
                                                                           proper hours worked and the proper
     3        overtime paid — and to furnish accurate wage statement to Plaintiff
                                                                                  as well as other similarly
     4        situated employees of Defendant.
     5                 87.    Plaintiff alleges a maximum of $ 4,000.00 as non-taxed penalties and
                                                                                                      restitution
     6        plus cost and attorneys'ees for pay period in which Defendant failed to
                                                                                         comply with Labor
     7        Code section 226 and for up to one year from the date of filing this action.
     8                                          TENTH CAUSE OF ACTION
     9                             FAILURE TO PAY OVERTIME COMPENSATION
 10                          Against Defendant GOLDEN STATE FC, LLC and DOES 1-50
 11                   88.    Plaintiff re-alleges and incorporates by reference those matters contained in the
 12          above paragraphs as though fully set forth herein.
 13                   89.    Pursuant to California aw, for the four years preceding this action Defendant was
 14          required to compensate Plaintiff for all overtime which is calculated at:
15                           a.   One and one-half (11/2) times the hourly rate of pay for all hours worked in
16                                excess of eight (8) hours per day and/or forty (40) hours per week, and for
17                                the first eight hours worked on the seventh (7'") consecutive day of work in a
18                                workweek, and
19                           b. Two (2) times the rate   of pay for all hours worked in excess of twelve (12)
20                                hours per day, and for all hours worked in excess of eight (8) hours on the
21                                seventh (7'") consecutive day of work in a workweek.
22                    90.    Plaintiff was a non-exempt employee entitled to the protections of the Industrial
23           Welfare Commission Orders mentioned herein, California Code of Regulations, Title section
                                                                                              8,
24           11010.

25                    91.    During the course of Plaintiff's employment, Defendant failed to compensate
26           Plaintiff for all hours worked in excess of eight (8) hours per day and forth (40) hours per week
27           and for the first eight (8) hours per day and forty (40) hours per week and for the first
                                                                                                       (8) hours
28           worked on the seventh (7'") consecutive day of work in a workweek. Moreover, Defendants


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            failed to compensate plaintiff for double-time hours worked
                                                                        in excess of 12 hours per day as
      2     required under the aforementioned statutes and regulations.

                   92.    Defendant willfully refused and continue to refuse to
                                                                                  pay Plaintiff overtime in a
            time manner as required. Plaintiff requests restitution and
                                                                        penalties as proved by California
     5      Labor Code section 203.28. Defendant's conduct described herein
                                                                              violates California labor
     6      Code sections 512, 515.5, 518, 1194 and 1198. Therefore, Plaintiff
                                                                               is entitled to recover
     7     damages for the nonpayment of wages for all hours worked, penalties
                                                                               plus reasonable attorneys'
           fees.
     9             93.  As a direct and proximate result of the aforementioned violations, Plaintiff
                                                                                                     has
 10        been damaged in an amount according to proof at trial.

                                         ELEVENTH CAUSE OF ACTION
 12                                        WRONGFUL TERMINATION
 13                      Against Defendant GOLDEN STATE FC, LLC and DOES 1-50
 14               94.    Plaintiff re-alleges and incorporates by reference those matters contained in the
 I6        above paragraphs as though fully set forth herein.
16                95.     "'[W]hile an at-will employee may be terminated for no reason, or for an
17        arbitrary or irrational reason, there can be no right to terminate for an unlawful reason or
                                                                                                       a
18        purpose that contravenes fundamental public policy. Any other conclusion would sanction
19        lawlessness, which courts by their very nature are bound to oppose.'" Case/la v. SouthWest
20        Dealer Services, Inc. (2007) 157 Cal.App.4th 1127, 1138— 1139.
21               96.     "The elements of a claim for wrongful discharge in violation of
                                                                                            public policy are
22        (1) an employer-employee relationship, (2) the employer terminated the plaintiff s employment,
23        (3) the termination was substantially motivated by a violation of public policy, and (4) the
24        discharge caused the plaintiff harm." Yau v. Allen (2014) 229 Cal.App.4th 144, 154.
25                97.    "[T]ermination of an employee most clearly violates public policy when it
26        contravenes the provision of a statute forbidding termination for a specified reason." Diego     v.
27        Pilgrim United Church of Christ (2014) 231 Cal.App.4th 913, 926.
2s        ///


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                  98.    As noted above, Plaintiff was Defendants'mployee, Defendants'erminated
     2    Plaintiff s employment and Defendants'ermination of Plaintiff caused Plaintiff
                                                                                             harm.
                 99.       The Defendants'ermination of Plaintiff s employment was clearly in retaliation
          for Plaintiff seeking accommodations and medical treatment for her
                                                                             physical disability, an
     6    activity protected by California law. Consequently, this termination was wrongful
                                                                                            under FEHA
     6    and violated the public policy of the State of California.
     7           100.    As a direct and proximate result of this wrongful termination in violation of
     8   public policy under FEHA, Plaintiff suffered, and continues to suffer, humiliation,
     9   embarrassment, emotional distress, physical anguish, and mental anguish, all to her damages in
 10      an amount according to proof at the time of trial.
 11              101.    As a further direct and proximate result of the aforementioned conduct, Plaintiff
 12      has suffered and continues to suffer losses in earnings, employment benefits,
                                                                                       earning capacity,
13       and opportunities for employment advancement, all to her damages in an amount according to
14       proof at the time of triaL
15               102.    The conduct of Defendants injured Plaintiff in her health, strength, and activity.
16       Therefore, Plaintiff is entitled to an award of punitive damages, her reasonable attorney's fees
17       and expenses under the FEHA, in an amount according to proof.
18                                      TWELFTH CAUSE OF ACTION
19           FAILURE TO PROVIDE COPY OF PERSONNEL RECORDS UPON REQUEST
20                      Against Defendant GOLDEN STATE FC, LLC and DOES 1-50
21               103.   Plaintiff re-alleges and incorporates by reference those matters contained in the
22       above paragraphs as though fully set forth herein.
23               104.   California Labor Code section 1198.5 provides that employees and former
24       employees have the right to receive a copy of their personnel file or be permitted to inspect said
25       file. Further, California Labor Code section 1198.5 requires the employer to comply within 30
26       calendar days from the date the employer receives employee's written request.
27              105.    California Labor Code section 1198.5 provides for a penalty against the
28       employer for non-compliance. An employer who fails to permit a current or former employee to


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         I    timely inspect or obtain a copy of personnel records are
                                                                       subject to a $ 750.00 penalty
      2       recoverable by the Labor Commissioner or the aggrieved
                                                                        employee.
      3              106.    Plaintiff requested in writing a copy ofher Personnel Records
                                                                                             before the
     4       commencement of this herein action on February 21, 2019. To
                                                                              date, Defendant has not
     6       provided Plaintiffs personnel records. Since more than 30
                                                                          days has lapsed, Defendant is in
     6       violation of said labor code and owes Plaintiff $ 750.00 and
                                                                          attorneys'ees to bring this action to
     7       enforce the statute.
     8                          WHEREFORE, Plaintiff prays for the following relief:
     9               1.     For compensatory damages in an amount according to
                                                                               proof;
 10                 2.      For general damages in an amount according to proof;
 11                 3.      For attorney's fees and expenses under the FEHA and applicable Labor
                                                                                                 Codes;
 12                 4.      For punitive damages in an amount according to proof;
 13                 5.      For prejudgment interest, according to proof;
 14                 6.      For costs of the suit herein incurred;
                    7.      For civil penalty of 750.00 for non-compliance of Labor Code )1198.5
                                                                                                     and
16                  8.      For such other and further relief as this court may deem proper and
                                                                                                just.
17           Dated: October 21, 2019
18

19                                                          enla Tobtas, Esq.
20
                                                           Attorney for Plaintiff, ALLAHYA SATTAAR EL

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